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8                               UNITED STATES DISTRICT COURT

9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )    2:17-po-00357-CKD
                                           )
12                     Plaintiff,          )    ORDER TO DISMISS AND RECALL BENCH
                                           )    WARRANT
13         v.                              )
                                           )
14   KIP LEE,                              )    DATE: October 19, 2017
                                           )    TIME: 9:00 a.m.
15                     Defendant.          )    JUDGE: Honorable Carolyn K. Delaney
                                           )
16                                         )
                                           )
17

18         It is hereby ordered that the plaintiff United States of

19   America’s Motion to Dismiss Case Number 2:17-po-00357-CKD without

20   prejudice is GRANTED.

21         It is further ordered that the bench warrant issued on October

22   19, 2017 is recalled.

23   IT IS SO ORDERED.

24
     Dated: November 13, 2017
25                                             _____________________________________
26                                             CAROLYN K. DELANEY
                                               UNITED STATES MAGISTRATE JUDGE
27

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30   ORDER TO DISMISS AND RECALL WARRANT          1                        U.S. v. KIP LEE
